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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

SHERESE TIPPY                                                                          PLAINTIFF

v.                                Case No. 4:18-cv-00536-KGB

DATAPATH                                                                            DEFENDANT

                                             ORDER

       Plaintiff Sherese Tippy commenced the pending lawsuit on August 17, 2018 (Dkt. No. 2).

Ms. Tippy alleges that she suffered employment discrimination from defendant Datapath due to

her race and age in violation of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§ 2000e, et seq. (Id.). Before the Court is Ms. Tippy’s motion to dismiss (Dkt. No. 17). Datapath

has filed a response, and it has no objection to Ms. Tippy’s request to dismiss this action (Dkt. No.

18). The Court made Ms. Tippy aware of the practical effect of a voluntary dismissal, and directed

her to respond by September 30, 2020, to indicate whether she: (1) would like to withdraw the

pending motion to dismiss and proceed with this action; or (2) wishes to proceed with the requested

dismissal (Dkt. No. 20). Ms. Tippy responded that she would like to proceed with the requested

dismissal (Dkt. No. 21). Accordingly, the Court grants Ms. Tippy’s motion to dismiss (Dkt. No.

17), and Ms. Tippy’s complaint is dismissed without prejudice (Dkt. No. 2).

       It is so ordered this 16th day of October, 2020.


                                                      ________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
